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 1    HOFLAND & TOMSHECK
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 3    State Bar of Nevada No. 009210
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 4    Las Vegas, NV 89101
      (702) 895-6760
 5    Attorneys for Defendant
 6
                                UNITED STATES DISTRICT COURT
 7
                                      DISTRICT OF NEVADA
 8    UNITED STATES OF AMERICA ,
                                                  ) Case Number: 2:13-cr-83-JCM-CWH
 9                       Plaintiff,               )
                                                  )
10          -vs-                                  ) UNOPPOSED MOTION TO ALLOW
                                                  ) TRAVEL ARRANGEMENTS
11    TAI KEYSTER,                                )
                                                  )
12                       Defendant.               )
                                                  )
13                                                )
                                                  )
14                                                )
15

16            COMES NOW Joshua Tomsheck, Esq., of the Law Firm of Hofland & Tomsheck,
17    and hereby moves this Honorable Court (UNNOPPOSED) to allow the defendant, Tai
18    Keyster permission to travel during the holidays from December 27, 2014 through

19    January 3, 2015.

20            This motion is made and based on the enclosed affidavit of counsel, Points and

21    Authorities, all pleadings and papers on file herein and any oral argument requested by
      the Court at the time of hearing.
22
      ///
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                                                  1
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 1                                               I.

 2                                     STATEMENT OF FACTS

 3
            1.     Counsel for the Defendant was first retained, and filed notice of attorney
 4

 5    appearance, on August 8th, 2014.

 6          2.     Thereafter, Defendant contacted the undersigned and requested that he
 7
      determine if she had permission to travel, pursuant to her families normal holiday
 8
      travel schedule to see family.
 9
            3.     Following said request, the undersigned counsel contacted pre-trial
10

11    services and requested they review same. Thereafter, the undersigned spoke to pretrial

12    services officer Barlono and she indicated she had no objection to the travel request
13
      assuming the United States Attorney’s office had no objection. On December 9th, 2014,
14
      the undersigned confirmed with Opposing Counsel, AUSA Sarah Griswald, who
15
      indicated she had no objection to Ms. Keyster traveling pursuant to the itinerary
16

17    provided.

18          4.     Pursuant to Ms. Keyster’s itinerary, she and her immediate family will be
19
      leaving their residence on December 27th and driving to Naples, Florida. The family
20
      will be returning, also driving, on January 3, 2015. The undersigned can provide the
21
      address and telephone number where they can be reached upon request.
22

23    ///

24    ///
25
      ///
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                                                 2
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 1
                                                 II.
 2

 3                              DECLARATION OF COUNSEL
                         IN SUPPORT OF UNOPPOSED MOTION TO ALLOW
 4                               TRAVEL ARRANGEMENTS

 5
      STATE OF NEVADA            )
 6
                                 )SS:
 7    CLARK COUNTY               )

 8                  JOSHUA TOMSHECK, ESQ., being first duly sworn, deposes and says:
 9
            1.      I am currently counsel of record for Defendant Keyster, having filed notice
10
      of attorney appearance, on August 8th 2014, to represent Defendant..
11
            2.      Thereafter, Defendant contacted myself and requested that I determine if
12

13    she had permission to travel, pursuant to her families normal holiday travel schedule to

14    see family.
15          3.      Following said request, I contacted pre-trial services and requested they
16
      review same. Thereafter, I spoke to pretrial services officer Barlono and she indicated
17
      she had no objection to the travel request assuming the United States Attorney’s office
18

19    had no objection. On December 9th, 2014, I confirmed with Opposing Counsel, AUSA

20    Sarah Griswald, who indicated she had no objection to Ms. Keyster traveling pursuant to

21    the itinerary provided.
22
      ///
23
      ///
24

25    ///

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                                                  3
28
     Case 2:13-cr-00083-JCM-CWH         Document 181       Filed 12/29/14   Page 4 of 4




 1           4.      Pursuant to Ms. Keyster’s itinerary, she and her immediate family will be

 2    leaving their residence on December 27th and driving to Naples, Florida. The family
 3
      will be returning, also driving, on January 3, 2015. I can provide the address and
 4
      telephone number where they can be reached upon request.
 5

 6           5.      I sign and declare under penalty of perjury that the above statement is true

 7    and correct.

 8                                                ___/s/ J. Tomsheck_____________________
 9                                                Joshua Tomsheck, Esq.

10

11
                                               III.
12
                                           CONCLUSION
13

14           WHEREFORE, the undersigned requests, without opposition, that this Honorable

15    Court allow Defendant to travel to Naples, Florida from December 27th through January
      3rd.
16

17
             DATED this 23rd day of December, 2014.
18

19
                                                        HOFLAND & TOMSHECK
20

21                                                      ___/s/__J. Tomsheck______________
                                                        JOSHUA TOMSHECK, ESQ.
22                                                      Counsel for Defendant
23

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25

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27
                                                    4
                                     12-29-2014
28
                                Nunc pro tunc December 26, 2014.
